       Case 1:11-cv-09186-PAE Document 402 Filed 12/26/12 Page 1 of 1



UNITED	  STATES	  DISTRICT	  COURT	  
SOUTHERN	  DISTRICT	  OF	  NEW	  YORK	  
	  
United	  State	  of	  America,	  
	    Plaintiff,	  
	    	           	  
	    v.	         	       	         	            	        	            11	  cv	  9186	  (PAE)	  
	    	           	       	         	            	        	            MOTION	  FOR	  ADMISSION	  
LABENESE	  CANADIAN	  BANK	  SAL,	  et.	  al.	   	                    PRO	  HAC	  VICE	  
	    Defendants	  
	  
	    Pursuant	  to	  Rule	  1.3	  of	  the	  Local	  Rules	  of	  the	  United	  States	  Courts	  for	  the	  

Southern	  and	  Eastern	  Districts	  of	  New	  York,	  I	  Robert	  Lee	  Jenkins,	  Jr.,	  hereby	  move	  

this	  Court	  for	  an	  Order	  for	  admission	  to	  practice	  Pro	  Hac	  Vice	  to	  appear	  as	  counsel	  

for	  The	  Ellisa	  Holding	  Company	  in	  the	  above-­‐capitiond	  action.	  

	         I	  am	  in	  good	  standing	  of	  the	  bar	  fo	  the	  Commonwealth	  of	  Virginia	  and	  there	  

are	  no	  pending	  disciplinary	  proceedings	  against	  me	  in	  ay	  state	  or	  federal	  court.	  

Dated:	  December	  26,	  2012	  

	         	         	         	         	          	         Respectfully	  Submitted,	  

	  

	  
Robert	  L.	  Jenkins,	  Jr.	  	  /s/	  
Robert	  L.	  Jenkins,	  Jr.	  
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